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13                         UNITED STATES DISTRICT COURT
14                       CENTRAL DISTRICT OF CALIFORNIA
                                   WESTERN DIVISION
15
16   KEION HOWARD,                         ) No. 2:21-cv-03332-JPR
                                           )
17                                         )
           Plaintiff,                      ) JUDGMENT OF REMAND
18                                         )
                  v.                       )
19                                         )
     KILOLO KIJAKAZI, 1                    )
20   Acting Commissioner of Social         )
                                           )
21   Security,                             )
                                           )
22                                         )
           Defendant.                      )
23         The Court having approved the parties’ Stipulation to Voluntary Remand
24   Pursuant to Sentence Four of 42 U.S.C. § 405(g) and to Entry of Judgment
25   (“Stipulation”) lodged concurrent with the lodging of the within Judgment of
26   Remand, IT IS HEREBY ORDERED, ADJUDGED AND DECREED that the
27
28   1
      Kilolo Kijakazi became the Acting Commissioner of Social Security on July 9,
     2021. Pursuant to Rule 25(d) of the Federal Rules of Civil Procedure, Kilolo
     Kijakazi should be substituted, therefore, for Andrew Saul as the defendant in this
     suit. No further action need be taken to continue this suit by reason of the last
     sentence of section 205(g) of the Social Security Act, 42 U.S.C. § 405(g).
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 1   above-captioned action is remanded to the Commissioner of Social Security for
 2   further proceedings consistent with the Stipulation to Remand.
 3
 4   DATED: September 22, 2021
 5                                         HON. JEAN P. ROSENBLUTH
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